AO 91 (Rev. 11/11) (WDMO 07/21/2022)   Criminal Complaint



                                       UNITED STATES DISTRICT COURT
                                                                    for the

                                                        Western District of Missouri

                  United States of America                             )
                             v.                                        )
                                                                       )        Case No. 23-mj-2009DPR
                      TIMOTHY ZEGAR
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                           Defendanl(s)

                                                     CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of          between 1/18/2023 and 1/28/2023            in the county of               Greene             in the
     Western          District of      ___      M_i_ss_o_u_r_i     ' the defendant(s) violated:
   Code Section                                                            Qlfense Description

 U.S.C. § 922(g)(1)          See Attachment A.




         This criminal complaint is based on these facts:

See attached affidavit.




         III Continued on the attached sheet.
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                                                                                       Isaac McPheeters, Special Agent, F.B.1.
                                                                                                   Printed name and title

Sworn to before me over the telephone and signed by me pursuant to Fed.R.Crim.P. 4.1 and 4(d).



Date:          1/31/23
                                                                                                     Judge's signature

City and state:                     Springfield, Missouri                      David P. Rush, Chief United States Magistrate Judge
                                                                                                   Printed name and title


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